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                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch

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June 10, 2019

BY ECF

The Honorable Joseph A. Dickson
United States Magistrate Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room 2D
Newark, New Jersey 07101

        Re:       Kyle-Labell v. Selective Service System et al., Docket No. 2:15-cv-05193-ES-JAD
                  (D.N.J.)

Dear Judge Dickson,

      We write in response to the Court’s April 30, 2019 order, which required the parties to
“submit a joint letter updating the Court on the status of discovery by June 10, 2019.” ECF No.
99. The parties jointly submit the following:

        On May 2, 2019, defendants served a first set of interrogatories on plaintiff. Under
Federal Rule of Civil Procedure 33, plaintiff’s responses to those interrogatories were due by
June 3, 2019. However, in advance of the June 3, 2019 deadline, plaintiff informed defendants
that she was in the process of retaining new counsel, and asked for a three-week extension of
time to respond to the interrogatories. Defendants agreed to extend plaintiff’s response deadline
by three weeks to June 24, 2019. Plaintiff expects that her new counsel will substitute in for
current counsel the week of June 10, 2019.

        In light of plaintiff’s change in counsel and defendants’ agreement to a three-week
extension of time for plaintiff to respond to the first set of interrogatories, the parties respectfully
request that the Court similarly extend all current deadlines by three weeks. Accordingly, the
parties propose the following new schedule:

        July 19, 2019:       Deadline for defendants to serve and conduct discovery related to
                             class certification;

        August 9, 2019:      Deadline for defendants to serve, but not file, any opposition to
                             plaintiff’s motion for class certification;

        August 23, 2019: Deadline for plaintiff to serve, but not file, any reply to defendant’s
                         opposition to the motion for class certification;
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      August 27, 2019: Deadline for the parties to electronically file all motion papers
                       simultaneously.

      The parties have not previously requested extensions of the above deadlines.


                                                   Respectfully submitted,

                                           By:     /s/ Matthew Skurnik
                                                   MATTHEW SKURNIK


                                                   /s/ Michael Daher
                                                   MICHAEL DAHER
